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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       BROWARD DIVISION

                               CASE NO.: 1:14-cv-62475-UNGARO

                                 AT LAW AND IN ADMIRALTY

  PATRICIA PARKER,

         Plaintiff,

  v.

  MSC CROCIERE S.A., a foreign
  Corporation,

        Defendant.
  ___________________________/

                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         The Plaintiff, PATRICIA PARKER (“Plaintiff” or “Mrs. Parker”), by and through her

  undersigned counsel, hereby moves, pursuant to Federal Rule of Civil Procedure 56, and S.D. Fla.

  L.R. 56.1, for an order granting Summary Judgment in her favor and against Defendant, MSC

  CROCIERE, S.A. (“MSC”), with respect to MSC’s Second, Third, Fourth, Fifth, Sixth, Seventh,

  Eighth, Ninth, Tenth, Eleventh, Twelfth, Thirteenth, Fourteenth, Fifteenth, Sixteenth, Seventeenth

  and Nineteenth Affirmative Defenses.

  I.   INTRODUCTION

       On December 11, 2013, on deck 14 aboard the Divina, MSC employees mopped and allowed

  a thin, clear, evenly spread and camouflaged area of water to accumulate on a raised portion of the

  white ceramic style Bolidt flooring in the hallway which leads passengers to and from the indoor

  and outdoor pools. MSC did not post any warning signs to warn of the camouflaged area of water,

  did not block off the wet area or use any of its personnel to warn passengers of the camouflaged


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  area of water. Mrs. Parker walked through the hallway which leads passengers to and from the

  indoor and outdoor pools. When Mrs. Parker began walking up the raised portion of the white

  ceramic style Bolidt flooring her feet began slipping due to the thin, clear, evenly spread and

  camouflaged area of water. Mrs. Parker then fell forward and her right knee landed very hard on a

  raised metal door frame located in between a set of metal double doors. The Plaintiff suffered a

  fracture of her right patella due to the fall on MSC’s metal doorframe which subsequently required

  surgical repair (two screws and metal wiring merged the two pieces of Plaintiff’s right patella

  bone).

  II.    S.D. Fla. L.R. 56.1 STATEMENT OF MATERIAL FACTS IN SUPPORT OF
         PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        1. On December 11, 2013, Mrs. Parker was a passenger aboard the MSC Divina. (Deposition

  of MSC’s Corporate Representative, 41.16–41.21).1

        1. On December 11, 2013, MSC owned and operated the MSC Divina. (Deposition of MSC’s

  Corporate Representative, 40.7–40.12).

        2. On December 11, 2013, MSC had a duty to provide safe walkways for its passengers

  aboard the Divina. (Deposition of MSC’s Corporate Representative, 31.1–31.7).

        3. On December 11, 2013, MSC employees were responsible for cleaning and maintaining

  deck 14 aboard the Divina. (Deposition of MSC’s Corporate Representative, 52.18–53.1).

        4. On December 11, 2013, no third party or outside company was responsible for cleaning or

  maintaining deck 14 aboard the Divina. (Deposition of MSC’s Corporate Representative, 53.2–

  53.6).

        5. On December 11, 2013, no third party or outside company was responsible for making sure


  1
   Antonino Cuccaro was designated as MSC’s corporate representative on every matter in which
  examination was requested under Fed. R. Civ. P. 30(b)(6). (Deposition of MSC’s Corporate
  Representative, 23.13–24.19).

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  the floors on deck 14 aboard the Divina were dry. (Deposition of MSC’s Corporate Representative,

  53.8–53.11).

     6. MSC has no evidence or information which establishes that Mrs. Parker caused the

  subject accident. (Deposition of MSC’s Corporate Representative, 85.14–85.16).

     7. MSC has no evidence or information which establishes that Mrs. Parker contributed

  to the subject accident. (Deposition of MSC’s Corporate Representative, 85.17–85.20).

     8. MSC is not aware of any witnesses to the subject accident. (Deposition of MSC’s

  corporate representative, 62.8–62.10, 65.8–65.10, 84.22–84.24; Defendant’s Responses to

  Plaintiff’s Interrogatories, Response to Interrogatory No. 7).

     9. MSC’s safety officer Marco Colonna conducted an investigation into the subject accident

  after it occurred. (Deposition of MSC’s Corporate Representative, 26.17–26.24; Defendant’s

  Responses to Plaintiff’s Interrogatories, Response to Interrogatory No. 7).

     10. MSC’s safety officer Marco Colonna did not witness the subject accident. (Deposition of

  MSC’s Corporate Representative, 56.6–56.9).

     11. MSC’s safety officer Marco Colonna arrived at the accident after the subject accident

  occurred. (Deposition of MSC’s Corporate Representative, 56.10–56.15).

     12. MSC’s safety officer Marco Colonna did not speak with any MSC crewmembers, or record

  any witness statements in reference to the subject accident. (Deposition of MSC’s Corporate

  Representative, 61.23–62.2, 62.21–62.25).

     13. MSC has no idea which crewmembers were assigned to, or were in the area of the subject

  accident because it does not keep documentation. (Deposition of MSC’s Corporate Representative,

  86.11–86.14, 88.4–88.9; Defendant’s Supplemental Responses to Plaintiff’s Interrogatories,

  Supplemental Response to No. 9).



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     14. The only statement made by Mrs. Parker to an MSC crewmember regarding the subject

  accident was a written “passenger injury statement.” (Deposition of MSC’s Corporate

  Representative, 60.17–60.21; Defendant’s Responses to Plaintiff’s Interrogatories, Response to

  No. 6).

     15. Mrs. Parker did not make any oral statements to any MSC crewmembers regarding the

  circumstances of the subject accident. (Deposition of MSC’s Corporate Representative, 58.13–

  58.15, 60.17–60.21; Defendant’s Responses to Plaintiff’s Interrogatories, Response to No. 6).

     16. MSC’s safety officer Marco Colonna documented in his accident report that the area of the

  subject flooring was dry at the time of his arrival – which was after the subject accident.

  (Deposition of MSC’s Corporate Representative, 83.5–83.8).

     17. The only evidence relied upon by MSC to establish that the subject area of flooring was

  dry is the opinion testimony of safety officer Marco Colonna. (Deposition of MSC’s Corporate

  Representative, 115.21–116.5).

     18. MSC’s safety officer Marco Colonna speculated in his accident report that Mrs. Parker

  tripped and caused her own injuries. (Deposition of MSC’s Corporate Representative, 81.7–81.12,

  83.5–83.8).

     19. Mrs. Parker has never told any MSC crewmembers that she tripped and fell, causing her

  own injuries. (Deposition of MSC’s Corporate Representative, 83.17–84.3, 84.11–84.13, 85.6–

  85.8).

     20. The only evidence relied upon by MSC to establish that Mrs. Parker tripped and fell is the

  speculative opinion of its safety officer Marco Colonna, who was not present when the subject

  accident occurred. (Deposition of MSC’s Corporate Representative, 85.21–85.25).

     21. MSC is assuming that Mrs. Parker tripped and fell. (Deposition of MSC’s corporate



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  representative, 84.19 – 84.21).

     22. On December 11, 2013, following Mrs. Parker’s accident, x-rays taken in the MSC Divina

  infirmary indicated that she suffered a fractured right patella as a result of the subject accident.

  (Deposition of MSC’s Corporate Representative, 72.11–76.2).

     23. At the time of Mrs. Parker’s accident there were not any warning signs in the area which

  warned Mrs. Parker, or other passengers about the thin, clear, evenly spread and camouflaged area

  of water which caused Mrs. Parker’s accident. (Deposition of MSC’s Corporate Representative,

  104.11–104.18; Deposition of Patricia Parker, 101.15–101.19, 101.21–102.2, 104.8–104.15,

  175.19–176.4, 181.6–181.8; Deposition of Lauren Parker, Volume II 251.8–251.17; Deposition

  of Russ Parker, 246.10–246.15).

     24. At the time of Mrs. Parker’s accident there were not any MSC crewmembers in the area of

  the subject accident who warned her, or other passengers about the thin, clear, evenly spread and

  camouflaged area of water which caused Mrs. Parker’s accident. (Deposition of Patricia Parker,

  104.8–104.15).

     25. At the time of her accident, Mrs. Parker was carefully looking forward and down.

  (Deposition of Patricia Parker, 100.18–100.21, 101.2–101.5).

     26. Mrs. Parker was not able to see the subject thin, clear, evenly spread and camouflaged area

  of water prior to her injury occurring. (Deposition of Patricia Parker, 97.17–97.19, 100.24–101.1,

  102.21–103.1, 220.17–220.23; Plaintiff’s Supplemental Answers to Defendant’s Interrogatories,

  Response to No. 7).

     27. Once Mrs. Parker walked over this thin, clear, evenly spread and camouflaged area of

  water her left foot began slipping, which caused Mrs. Parker to lose her balance and fall forward.

  Mrs. Parker’s right knee landed on a raised metal doorframe, causing her patella to fracture.



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  (Deposition of Patricia Parker, 94:18–95:4; 96:9–96:13; 176.15–177.1; Plaintiff’s Supplemental

  Answers to Defendant’s Interrogatories, Response to No. 7).

     28. Plaintiff’s daughter Lauren Parker, observed an MSC crewmember mopping the subject

  flooring approximately ten to twenty minutes before the subject accident. (Deposition of Lauren

  Parker, Volume II 155.9–155.17, 250.19–251.7, 256.13–256.22).

     29. Lauren Parker arrived at the scene of the accident within minutes of Patricia Parker’s

  injury. (Deposition of Patricia Parker, 177.12–177.15).

     30. Lauren Parker inspected the subject white flooring after Mrs. Parker identfieid that she had

  slipped on it. (Deposition of Patricia Parker, 177.16–178.4; Deposition of Lauren Parker, 253.5–

  253.9).

     31. Lauren bent down over the subject flooring and noticed a thin, clear, evenly spread and

  camouflaged area of water on the subject flooring. (Deposition of Lauren Parker, 249.16 – 250.1;

  Deposition of Patricia Parker, 178.1–178.10).

     32. Lauren Parker was not able to see the thin, clear, evenly spread and camouflaged area of

  water from a standing position. (Deposition of Lauren Parker, 252.4–252.10).

     33. The thin, clear, evenly spread and camouflaged area of water blended in with the subject

  flooring. (Deposition of Lauren Parker, 252.12–252.14).

     34. On December 11, 2013 MSC’s shipboard doctor told Mrs. Parker that she should

  disembark the Divina in Jamaica (a foreign country) because she needed to have corrective surgery

  for her injury. However, MSC’s doctor told Mrs. Parker that if she was his wife, he would

  recommend that she fly back to the United States for medical treatment. (Deposition of Patricia

  Parker, 108.24 – 109.7).

     35. On December 12, 2013 Mrs. Parker disembarked the Divina in Jamaica, was transported



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  to the nearest airport, and traveled by plane to Orlando, Florida. (Deposition of Patricia Parker,

  109.8–109.25).

     36. Mrs. Parker arrived in Orlando, Florida at approximately 3:00 a.m. on December 13, 2013.

  (Deposition of Russ Parker, 177.15–178.8).

     37. Mrs. Parker was admitted to the Halifax Medical Center Hospital in Flagler Beach, Florida

  on December 13, 2013. Mrs. Parker underwent surgery to repair her fractured right patella on

  December 14, 2013. (Deposition of Patricia Parker, 112.11–112.21).

     38. Prior to the subject accident on December 11, 2013, Mrs. Parker did not have any problems

  or limitations with her right knee. (Deposition of Patricia Parker, 187.4–187.12).

                                    MEMORANDUM OF LAW

  III. Standard of Review–Fed. R. Civ. P. 56

     Summary judgment should be granted if “there is no issue as to any material fact and the

  moving party is entitled to judgment as a matter of law”. Fed.R.Civ.P. 56(c). An issue of fact is

  material if it is a legal element of the claim or defense under the applicable substantive law which

  might affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106

  S.Ct. 2505, 2510 (1986). However, issues of fact are genuine only if a reasonable jury considering

  the evidence presented could find for the non-moving party. Id. The non-moving party may not

  defeat a properly supported motion by resting upon the “mere existence of some alleged factual

  dispute between the parties”. Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S.Ct. 2547, 2553

  (1986). The moving party may meet its burden of showing an absence of a material fact by

  demonstrating “that there is an absence of evidence to support the non-moving party’s case”.

  Celotex, 477 U.S. at 325, 106 S.Ct. at 2554. If the non-moving party fails to present substantial




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  evidence of pretext or to make a sufficient showing of a disputed material issue of fact, the moving

  party is entitled to summary judgment. Celotex, 477 U.S. at 323, 106 S.Ct. at 2552.

    “A defendant seeking to have the jury apportion its fault with that of a non-party has the burden

  to . . . prove its entitlement to that benefit.” Clark v. Polk County, 753 So.2d 138, 142 (Fla.2d

  DCA 2000). Defendant has the burden to come forward with evidence sufficient to support its

  affirmative defenses in response to a summary judgment motion directed to its affirmative

  defenses. Blue Cross and Blue Shield of Ala. v. Weitz, 913 F.2d 1544, 1552 (11th Cir.1990)

  (defendant has the burden of making a showing that an affirmative defense is applicable);

  Thorsteinsson v. M/V Drangur, 891 F.2d 1547, 1550 (11th Cir.1990) (defendant bears the burden

  of proof on his or her affirmative defense). Furthermore, Defendant cannot satisfy its burden of

  proof by simply pointing out deficiencies in Plaintiff’s motion for summary judgment. Spellman

  v. RSC Equipment Rental, Inc., 2010 WL 450400 *5 (M.D. Fla. 2010).                Defendant must

  affirmatively produce evidence of its own. See Fed.R.Civ.P. 56(e)(2).

                LEGAL ARGUMENT IN SUPPORT OF SUMMARY JUDGMENT

  IV. Plaintiff is entitled to Summary Judgment on Defendant’s Second, Third, Seventh,
      Ninth and Thirteenth Affirmative Defenses (Comparative Fault)

     MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations of comparative negligence on Mrs. Parker’s part. The Rule 30(b)(6)

  corporate representative produced by MSC, safety officer Antonino Cuccaro, admitted that MSC

  has no evidence which establishes that (1) Mrs. Parker caused the subject accident; or (2) Mrs.

  Parker contributed to the subject accident:

         Q: Okay. Do you have any evidence to indicate that my client caused this
         accident?
         A: No.
         Q: Okay. Do you have any evidence to indicate that my client contributed to
         this accident?


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         A: No.

  See (Deposition of MSC’s Corporate Representative, 85.14–85.20). Further, MSC’s corporate

  representative admitted that MSC is assuming that Mrs. Parker tripped and fell:

         Q: So MSC is assuming that my client tripped and fell, correct?
         A: Correct.

  See (Deposition of MSC’s Corporate Representative, 84.19–84.21). Moreover, MSC is not aware

  of any witnesses to the subject accident.

     During deposition (and through supplemental interrogatory responses) Mrs. Parker identified

  that she was carefully looking forward and down at the time of the subject accident. Mrs. Parker

  testified that she was not able to see the thin, clear, evenly spread and camouflaged area of water

  prior to her injury occurring. Further, Lauren Parker, who arrived minutes after the subject accident

  occurred, testified that she was not able to see the thin, clear and evenly spread area of water from

  a standing position. In order to see the thin, clear and evenly spread area of water which caused

  Mrs. Parker’s injury, Lauren had to bend down and get close to the floor surface because the thin

  layer of water blended in with the floor. Furthermore, there were not any warnings (neither through

  signage or MSC crewmembers) which warned Mrs. Parker about the thin, clear, evenly spread and

  camouflaged area of water prior to her injury occurring.

     Any assertion by MSC that Mrs. Parker tripped and fell is based upon pure speculation.

  Speculative opinion testimony is not admissible under the Federal Rules of Evidence. See Fed. R.

  Evid. 602; XL Ins. America, Inc. v. Ortiz, 673 F.Supp.2d 1331, 1343 (S.D. Fla. 2009) (finding a

  witness’ speculative testimony inadmissible because the witness was not present when the events

  occurred). Further, guesses or speculation which raise merely a conjecture or possibility are

  not sufficient to create an inference of fact for consideration on summary judgment. Argonaut

  Midwest Ins. Co. v. McNeilus Truck and Mfg., Inc., No. 1:11 – CV – 3495 – TWT, 2013 WL


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  504897, at *2 (N.D. Ga. Feb. 8, 2013) (granting plaintiff’s motion for summary judgment on

  defendant’s affirmative defense of contributory and comparative negligence where

  defendant could not produce any evidence other than speculation to support its affirmative

  defense). Therefore, since the record lacks support for MSC’s Second, Third, Seventh, Ninth and

  Thirteenth Affirmative Defenses, the Plaintiff’s Motion for Summary Judgment should be granted.

  V.     Plaintiff is entitled to Summary Judgment on Defendant’s Fourth Affirmative Defense

       MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations that the “incident and injuries alleged by the Plaintiff, if any, were the

  result of superseding, intervening, and/or unforeseeable causes from which the [sic] MSC had no

  duty to protect Plaintiff.” MSC’s Fourth Affirmative Defense is completely unsupported by the

  record. Therefore, the Plaintiff’s Motion for Summary Judgment as to MSC’s Fourth Affirmative

  Defense should be granted, as there is no evidence which would establish that Mrs. Parker’s

  injuries were caused by “superseding, intervening, and/or unenforceable causes.”

  VI. Plaintiff is entitled to Summary Judgment on Defendant’s Sixth Affirmative Defense

       MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support its allegations that “the damages allegedly suffered by the Plaintiff were not the result

  of any act or omission on the part of MSC, but were caused by Plaintiff’s pre-existing injuries

  and/or trauma or illness suffered by the Plaintiff during her lifetime.” There is absolutely no

  evidence in the record which indicates that Mrs. Parker suffered a fractured right patella prior to

  the subject accident on December 11, 2013. The record clearly establishes that Mrs. Parker

  suffered a fractured right patella on December 11, 2013, as a direct result of the negligence of

  MSC’s crewmembers. Therefore, the Plaintiff’s Motion for Summary Judgment as to MSC’s Sixth

  Affirmative Defense should be granted, since there is absolutely no evidence which would



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  establish that Mrs. Parker’s fractured right patella occurred prior to the subject accident on

  December 11, 2013.

  VII. Plaintiff is entitled to Summary Judgment on Defendant’s Eighth Affirmative Defense

     MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations that the subject dangerous condition was “open and obvious.” First,

  based on Colonna’s (who arrived after the accident) statement in MSC’s accident report, MSC has

  taken the position that the subject floor was dry at the time of the subject accident. So, MSC has

  not admitted that the subject floor was wet at the time of the subject accident. Therefore, MSC has

  not accepted the allegations in the complaint as true. See Losada v. Norwegian (Bahamas) Ltd.,

  296 F.R.D. 688, 690 (S.D. Fla. 2013) (stating that an affirmative defense is a defense which admits

  the essential facts of a complaint and sets up other facts in justification or avoidance).

     In its responses to the Plaintiff’s interrogatories MSC stated that the “metal threshold at issue

  is open and obvious.” See Defendant’s Responses to Plaintiff Interrogatories, Response to No. 2.

  However, through the complaint, pleadings, discovery and depositions the Plaintiff has identified

  that the alleged dangerous condition which caused the subject accident was a thin, clear, evenly

  spread and camouflaged area of water created by an MSC crewmember. Therefore, MSC’s

  contention that the “metal threshold at issue is open and obvious” is inapposite.

     Mrs. Parker testified that she was carefully looking forward and down at the time of the subject

  accident. Mrs. Parker testified that she was not able to see the thin, clear, evenly spread and

  camouflaged area of water prior to her injury occurring. Further, Lauren Parker, who arrived

  minutes after the subject accident occurred, testified that she was not able to see the thin, clear and

  evenly spread area of water from a standing position. In order to see the thin, clear and evenly




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  spread area of water which caused Mrs. Parker’s injury, Lauren had to bend down and get close to

  the floor surface because the thin layer of water blended in with the floor.

     Further, during discovery MSC has identified two employees who have knowledge regarding

  the subject accident; (1) safety officer Marco Colonna; and (2) the shipboard doctor. See

  Defendant’s Responses to Plaintiff’s Interrogatories, Response to No. 5. As indicated above,

  Marco Colonna noted that the subject flooring was dry when he arrived. During discovery MSC

  did not produce any evidence or information from the shipboard doctor which would indicate that

  he/she had knowledge regarding the circumstances surrounding Mrs. Parker’s accident, other than

  providing medical treatment to Mrs. Parker in the Divina infirmary. MSC has not produced any

  evidence or information which establishes that the thin, clear and evenly spread area of water

  which caused Mrs. Parker’s accident was “open and obvious,” despite having seven months

  to conduct discovery. Therefore, since the record lacks support for MSC’s Eighth Affirmative

  Defense, the Plaintiff’s Motion for Summary Judgment should be granted.

  VIII. Plaintiff is entitled to Summary Judgment on Defendant’s Tenth and Twelfth
        Affirmative Defenses (Fabre defense)

     MSC’s affirmative defenses which allege that third parties (who are not parties to this lawsuit)

  are responsible for Mrs. Parker’s injuries are unfounded, as there can be no apportionment of fault

  to non-parties in a maritime tort case, and MSC has failed to produce a scintilla of evidence after

  adequate time for discovery to support any allegations that third parties are responsible for Mrs.

  Parker’s injuries. The Eleventh Circuit has stated “the general rule in maritime law is that a plaintiff

  may sue any defendant for the full amount of damages for an indivisible injury that the defendant’s

  negligence was a substantial factor in causing, even if the concurrent negligence of others

  contributed to the incident.” Sands v. Kawasaki Motors Corp. U.S.A., 513 Fed.Appx. 847, 854–55

  (11th Cir. 2013). Further, this Court has held that under federal maritime law, plaintiff may obtain


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  judgment for the full amount from any and all tortfeasors under the doctrine of joint and several

  liability. Groff v. Chandris, Inc., 835 F.Supp. 1408, 1409 (S.D. Fla. 1993) (Judge Moore refusing

  to permit the defense to have the jury determine the percentage of liability or fault of a non-

  party in a maritime case).

     Additionally, MSC admitted during deposition of its corporate representative that it owned and

  operated the MSC Divina on December 11, 2013. Further, MSC’s employees were solely

  responsible for cleaning and maintaining deck 14 aboard the Divina. During deposition of its

  corporate representative MSC admitted that on December 11, 2013, no third party or outside

  company was responsible for keeping the floors dry on deck 14 aboard the Divina. Therefore, since

  the Fabre defense is inapplicable in maritime tort cases, and because MSC has presented no

  evidence to support such a defense even if it were applicable, the Plaintiff’s Motion for Summary

  Judgment should be granted as to MSC’s Tenth and Twelfth Affirmative Defenses.

  IX. Plaintiff is entitled to Summary Judgment on Defendant’s Eleventh Affirmative
      Defense

     MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations that Mrs. Parker’s choice to undergo surgery in the United States three

  days after the subject accident exacerbated her injuries. On December 11, 2013 MSC’s shipboard

  doctor advised Mrs. Parker to seek medical treatment in the United States. The next day, Mrs.

  Parker disembarked the Divina and traveled by plane to Orlando, Florida. Mrs. Parker arrived in

  Orlando, Florida during the early morning hours of December 13, 2013. Later that day, Mrs. Parker

  was admitted to the hospital. Mrs. Parker underwent corrective surgery the following day

  (December 14, 2013). MSC has failed to present any evidence which establishes that Mrs. Parker’s

  choice to have corrective surgery in the United States three days after the subject accident




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  exacerbated her injuries. Therefore, the Plaintiff’s Motion for Summary Judgment should be

  granted as to MSC’s Eleventh Affirmative Defense.

  X.     Plaintiff is entitled to Summary Judgment on Defendant’s Fourteenth Affirmative
         Defense

       MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations that it did not have notice of the thin, clear, evenly spread and

  camouflaged area of water which caused Mrs. Parker’s injury. Approximately ten to twenty

  minutes before Mrs. Parker’s accident, Lauren Parker observed an MSC crewmember mopping

  the white flooring where Patricia Parker’s accident would occur less than thirty minutes later.

  Further, the MSC crewmember did not post any warning signs in the area while he was mopping,

  or when mopping was completed. When Lauren Parker arrived at the accident scene ten to twenty

  minutes later she observed the subject flooring to have a thin, clear, evenly spread area of water

  covering it. The record has established that MSC’s crewmember created this dangerous condition,

  and, therefore, MSC had notice of the thin, clear, evenly spread and camouflaged area of water left

  by its crewmember. Consequently, the Plaintiff’s Motion for Summary Judgment should be

  granted as to MSC’s Fourteenth Affirmative Defense.

  XI. Plaintiff is entitled to Summary Judgment on Defendant’s Fifteenth Affirmative
      Defense

       MSC has failed to come forward with a scintilla of evidence after adequate time for discovery

  to support any allegations that it warned Mrs. Parker about the thin, clear, evenly spread and

  camouflaged area of water prior to her accident. MSC’s corporate representative admitted that

  MSC is not aware of any evidence which establishes warning signs were placed in the area

  of the subject accident at the time it occurred. Further, Patricia Parker testified that there were

  no warning signs, or crewmembers warning her away from the subject flooring at the time of the



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  accident. Furthermore, Russ Parker and Lauren Parker have both testified that there were not any

  warning signs in the area of the subject accident when they arrived minutes later. Therefore, the

  Plaintiff’s Motion for Summary Judgment should be granted as to MSC’s Fifteenth Affirmative

  Defense, as it has failed to present any evidence which establishes that Mrs. Parker was warned

  about the thin, clear, evenly spread and camouflaged area of water prior to her accident.

  XII. Plaintiff is entitled to Summary Judgment on Defendant’s Seventeenth Affirmative
       Defense

     MSC’s Seventeenth Affirmative Defense states “MSC asserts that Plaintiff’s Complaint fails

  to state a claim upon which relief may be granted.” This is not a legally recognizable defense. See

  U.S. v. Halifax Hosp. Medical Center, No. 6:09-cv-1002-Orl-31TBS, 2013 WL 6017329, at *12

  (M.D. Fla. Nov. 13, 2013) (granting summary judgment as to defendant’s first affirmative

  defense “failure to state a claim upon which relief may be granted” and holding that

  defendant’s first affirmative defense is not available as a matter of law). Therefore, the

  Plaintiff’s Motion for Summary Judgment should be granted as to MSC’s Seventeenth Affirmative

  Defense.

  XIII. Plaintiff is entitled to Summary Judgment on Defendant’s Nineteenth Affirmative
        Defense

     MSC’s Nineteenth Affirmative Defense states “MSC asserts that as set forth in the Passenger

  Ticket Contract, because the Plaintiff’s claims are governed by admiralty/maritime law and/or ther

  [sic] court’s admiralty jurisdiction, the Plaintiff has no right to a jury trial and all disputes are to

  be tried without a jury.” This is not a legally recognized Affirmative Defense, and, therefore, the

  Plaintiff’s Motion for Summary Judgment as to MSC’s Nineteenth Affirmative Defense should be

  granted.




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                                         CONCLUSION

     This Honorable Court should issue an Order granting Summary Judgment in Plaintiff’s favor

  and against MSC with respect to its Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth,

  Tenth, Eleventh, Twelfth, Thirteenth, Fourteenth, Fifteenth, Sixteenth, Seventeenth and

  Nineteenth Affirmative Defenses, because after adequate time for discovery MSC has no facts or

  evidence supporting the above-mentioned affirmative defenses.

                                                      Respectfully Submitted,

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                                      CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on July 21, 2015, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the attached Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

  in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Filing.


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                                     SERVICE LIST
                              Parker v. MSC Crociere, S.A.
                               Case No.: 0:14-cv-62475-UU
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